      Case 8:07-cr-00495-JSM-TGW Document 162 Filed 08/26/08 Page 1 of 6 PageID 407
4 0 145B (Rev 06/05) She& 1 - Judgment In a Crm~nalC a x



                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORlDA
                                                           TAIMPA DIVISION




UNITED STATES OF AMERiCA                                        JUDGMENT IN A CRIMINAL CASE

                                                                CASE NUMBER: 8:07-cr-495-T-30TGW
                                                                USM N U M B E R : 50050-018
VS.




EVER SOTO-MORALES
                                                                Defendant's Attorney: Daniel L. Castillo, cja.

THE D E F E N D N :

X pleaded guilty lo count(s) O W of the Second Superseding Indictment
-
- pleaded nolo contendere TO count(s) which was accepted by the court
- was found guilty on count(s) afrer a plea of not g u i ) ~ .

T77ZE % SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT

18 U.S.C. 9 371                     Conspiracy to Comnut OKenses                  December 19.2007                    One
                                    Against the Unired States

          The ilcIsndant is sentenced as provlded m pages 2 through 6 of rhsjud-ment The sentence is imposcd pursuanl to the Sentencing
1Ceftor.m 4zr of 1983.

- Thc; Jtfmdant has been found not guilly on coun((s)
  Count(.;) are dismissed on the motion of the United Statzs.

IT IS FLXTHER ORDERED that the defendant must notifL the United Srares Anorney for this districr wirhm 30 days of any change of
name. rssidcnce. or mailing address until all fine.<. twfitution. cOi1.s. and ipxial assessments imposed by this judgment are fully paid.
Ii' ~)rd~,r.:dto pay restitution. rhe defendan1 mu>r n~711fi.thc <our[ m d Criired States Attorney of any material change in economic
~ilUl~ilj~.?ill't~.


                                                                                  Date o f Imposition of Sentence: Augusr 26, ZOOS




                                                                                  DATE: August      2
                                                                                                    6 . 2008
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A 0 2458 [Rev 06105) Sheel 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:          EVER SOTO-MORAES                                                                                      -
                                                                                                                  Judgment Page _2_ of5
Case No.:           8:07-cr495-T-3MGW

                                                               IMPRISONMENT

       After coosidering the advisory sentencing guidelines and all of the fnctors identified in Title 18 U.S.C. 94
3553(a)(l)-(7), the court finds that the sentence imposed is suficicnt, but not greater than necessary, to comply with
the sto tu tory purposes of sentencing.


         T h e defendant i s hereby committed to the custodyof the UnitedStntes Bureau of Prisonsto beimprisoned for
a total term of TEN (10) MONTHS as to Count One of the Second Superseding Indictment. The defends o t shall
receive credit for time s e w e d since his arrest by the Palmetto Policc Department on 12/18/2007.




-The court make the followingmmmadations to the Bureau of Prisons:

-
X The dcfcndw~is m d e d to the custody of the United States Manhd.
-The defadant     s M 1 smmder to ~e United States Marshal br thii district

          -at-8.mlp.m on -.
          -as notified by the UnitedStates Marshal.
-The defendant shall sumder for service of sentknce at the institution designated by the B u r c ~ uof Pri eons

          -befm 2 p.m, w -.
          -as notifiedby the United States Marshal.
          -as ndon'fiedby the Pmbation or Pretrial Services Office.

                                                                      RET U R N

          1 liave executed this j u d p i e n l as Cc~llows:




          Defendant delivered on                                            to
- at                                                                  . with a certified copy of this judgment.

                                                                                 United States Marshal

                                                                      By:
                                                                                          Deputy United Stares Marshal
      Case 8:07-cr-00495-JSM-TGW Document 162 Filed 08/26/08 Page 3 of 6 PageID 409
                                  -
A 0 2458 (Rev. 06105) Sheet 3 Supervised Releese (Judgment in a Criminal Case)
>
Defendant:            EVER SOTO-MORALES                                                                              Judgment - Page 2of 6
Case No.:             8:07-cr-495-T-30TG W
                                                             SUPERVISED RELEASE

       l i p o n release f r o m imprisonment, the defendant shall be on supervised rclcase for a term o f THREE (3) YEA?X as to
Count One o l the Second Superseding Indictment.

            The defendant must report to the probation ofice in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state. or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

            The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of future
            substance abuse.

            The defendant shall not possess a firearm, destructive device. or any other dangerous weapon.

            The defendant shall cooperate in the coUection of DNA as directed by the probation officer.

             If this judgment imposes a fine or restitution it is a condition of supemised release that the defendant pay in accordance with the
             Schedule of Payments sheet of this judgment.

             The defendant must comply with the standard conditions that have been adopted by this court as well as filth any additional
             conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
             the defendant shall not lwvc thc judtc~aldistrict without the pemi~ssiono i the court or probalm ol'liccr.

             the dcfendri~rshall repor1 to l l probiu
                                                ~     on otficcr and 4 a l l submit a truthful and co~nplctcw r ~ r c nI-cpon within the first five days ofedch
             month;

             the defendant shalI unswer truthhlly all inquiries by the prohation otlicer and follow rhc i~rstruc~lcrns
                                                                                                                    oFthe p r o h ~ l i o nonicer:

             the defendant shall support his or her dependents and m m other family mponsibilitics.

             rhe defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             the defendant shall notify thc probation officer at least ten days prior to my changc in rcsidcnce or v~nploymcnt;

             the defendant shall w h i n ticm excessive use of alcohol and shail not purchme. possess, use. distribute. or administer any controlled
             substance or any panph~malisrelated to any controlled substances, except as prescribed by u physician;

             the defendant shall not frequent place w h m controlled substances are illegally sold, usd. dismbutcd. or adniinistncd;

             the defendant shall not aswiatc with any pasons engaged in criminal activity and shall not assaciatc with any p m o n convicted o f a
             felony, unless granted pmnission to do so by the probation officm.

             the defendant shall pmnit a probation officer to visit him or       at any time at home or rlsewherc and shall pcmiit confiscation o f any
             contraband obsmtd in plain view of the probation officer:

             the defendant shall notify thc probation officer within seventytwo hours o f being arrcstcd or quwtioncul by a law enforcement officer.

             h e defendant shall not cntcr into any agreement to act as an informer or a spccial agent o f a law cnI'orccrnent agency without the
             permission of tlic court; and

             as directed by the proba~ionollicer, the defendant shall norify third parties o f risks that miiy hc occnsiond by thc dcfcndnt's criminal record
             or pcrsonnl history or ohar~ctcristicsand shall permit the probation officer to make such notifications and to confirm the defendant's
             compliance with such nc~titicationrequirement.
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                              -
A 0 2458 (Rev. 06/05)Sheet 3C Supervised Release (Judgment in n Criminal Case)

Defendant:        EVER S O T O - M O W S                                                     Judgment - Page 4of6
Case No.:         8:07-cr-495-T-30TG W
                                       SPECIAL CONDITIONS OF SUPERVISION

         The def'endant shall also compIy with the following additional conditions of supervised release:

-
X        Should the defendant be deported, hdshe shall not be allowed to re-enter the United States \\7rhout the express permission of
         the appropriate governmental authority.

-
X        The defendant shail cooperate in the coIlection of DNA as directed by the probation officer
-
X        The m~ndatotydrug testing provisions pursuant to the Violeat Crime Control Act are \valved. However, the Court orders the
         pmbation officer to conduct random drug testing not to exceed 104 tests per year
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40 2458 (Rev 06!05) Sheet 5 - Cnminal Moncrxry Penalries (Judgment in a Criminal Case)

Defendant:         EVER S O T O - M O U E S                                                  Judgnent - Page 5 of 6
Case No.:          8:07-cr195-T-jOTGW

                                           CRIMWAL MONETARY PENALTIES

         The defendant must pay the total crimmal monetary penalties under the schedule of paynenrs on Sheel 6.
                             Assessment                                                       Total Restitution

         Totals:                                                  Waived


         The determinauon of restitu~ionis deferred until -,
         be entered afier such determination.
         The defend an^ musr make restitution (mcluding community restitution) to the Collowing payees in the a m c ~ u nl i~~ t c d
         below.
          If the defendant makes a parhal pa>mc.Iit. sdch 1 3 cc~ 4 \~L i l l r w r i \ s an approximately proportioned payment, unless
          specified othenvise m the priont? order clr percentage pn>7nt'nt colurnn below. However, pursuant to 1 8 U S C 3
          3664(1),all non-federal v l c t ~ m sm u t be patd betorc rhc I nrtsd Sratrts.


 Name of Pavee                                 Total Loss"                 Res~itutionOrdered                   PrioriW or Percentage




                             Totals:

          Resc~tutionamount ordered pursuant to plea agreement 15
          The defendant must pay iotercst on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before Ihe fifieenth day afrer the date of the judgment, pwsuant to 18 U.S.C.3 36 12(f). All of the paymenr options on Sheet
          6 may be subject lo penalties for delinquency and dtfault, pursuant to 18 U.S.C. $ 36 I 2(g).
          The courr determined that h e defendant does not have the ability to pay interest and it is ordered LhaI:
                   h e interest requiren~entis waivsd for the      fine        restitution
                   che interest requirement for the - f i e         restirution is modified as follows:


* Findings for the 1o1a1amounl oClosses are required under Chapters 109A: 1 10, 1 IOA, and 1l 3 A orTitle 18 for the offenses commil~ed
on or aRer September 13. 1994, bur before April 13, 1996.
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A 0 245B (Rev 06105) Shcet 6 - Schedule o f Payments (Judgment in a Criminal Case)

Defendant:         EVER SOTO-MORALES                                                         Judgment - Page         of _h
Case No.:          kO7-cr-495-T-30TGW


                                                   SCHEDULE O F PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         X         Lump sum paymenl oT S 100.00 due immediately, balance due
                             -not later than     ,or
                             -in accordance -C, - D, - E or -F below; or
                   Payment to begin immediately (may be combined with -C, -D, or                           F bclow); or
                   Payment in equal                  (e.g., weekly,monthly, quarterly) installments of $                     over a period
                   of         (e-g., months or years), to commence            days (e.g., 30 or 60 days-e                     date of this
                   judgment; or
         -         Payment in equal               (e.g., weekly,monthly, quarterly) installments of $                     over a period of
                                   (e.g., months Myears) to commence                     (e.g. 30 or 60e-r                    release from
                   imprisonm&t to a terrn of supervis~on;or
                   Payment during the tern of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release finm imprisonment. The court will set the payment plan based on an assessment of the
                   defendanfs ability to pay at that time, or
         -         Special instructions regarding the payment of criminal monetary penalties:


Unless the court has evressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 end ties is due during       nment. All criminal monetary penalties, except those ayments made through the Federal
b-u     of~risons'Inmate"$""
                          inancia1 Responsibility Pro-       are made to the clerk of t! e court.
The defendant s U receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendo1) t number) , To l a l Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution
         The defendant s W pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the followingproperty to the Un It cd States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions her& subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments s M I be applied in the following order. (1) assessment, (2) restitution principal, (3) restitution interest, (4) h e principal, (5)
tke interest. (6) community restitution, (7)penalties, and (8) costs, including cost of prosecu ( Ion and court costs.
